Case 1:19-cv-21770-DPG Document 1-2 Entered on FLSD Docket 05/03/2019 Page 1 of 14

EXHIBIT A
Case 1:19-cv-21770-DPG Document 1-2 Entered on FLSD Docket 05/03/2019 Page 2 of 14
Filing # 88336323 E-Filed 04/22/2019 04:06:51 PM

RETURN OF SERVICE

 

State of Florida. County of DADE Circuit Court
Case Number: 2079-006053-CA-01

Plaintiff;

ANNETTE PADILLA

VS,

Defendant .

COMPREHENSIVE HEALTH SERVICES,ING,

For:

Peter Michadi Hodgerwoerd .
REMER & GEORGES-PIERRE, PLLG.
44 West Flaglar Street

Suite 2200

Miami, FL°33130

Received by OJF SERVICES, INC. on the 17th day of April, 2019-at 11:09 am to be served on COMPREHENSIVE HEALTH
SERVICES,INC., REG, AGENT CT. CORPORATION SYSTEM, 1200 SOUTH PINE ISLANO ROAD, PLANTATION, FL
33324.

|, ANDREW KARP, do hereby affirm that onthe 48th day of April, 2049 at 2:30 pm, ©

CORPORATE SERVED: by delivering a true copy of the SUMMONS AND COMPLAINT with the date. and hour of service
endorsed thereon by me, to: DONNA MOCH EMPLOYEE OF CT CORPORATION SYSTEM at the address:of: 1200 SOUTH
PINE ISLAND ROAD, PLANTATION, FL-33324 as registered agent for COMPREHENSIVE HEALTH SERVICES,ING.,
REG,. AGENT CT CORPORATION SYSTEM, and informed sald person of the contents thorein, in compliance with state
statutes 48,081.

1 CERTIFY THAT 1 AM OVER THE AGE OF 18, HAVE NO INTEREST IN THE ABOVE ACTION, AND THAT | AM-A SPECIAL
PROCESS SERVER APPOINTED BY. THE SHERIFF, IN GOOD STANDING, IN THE JUDICIAL CIRCUIT IN WHICH
PROCESS WAS SERVED. "UNDER PENALTY OF PERJURY, | DECLARE THAT | HAVE READ THE FOREGOING
(DOCUMENT) AND THAT THE FACTS. STATED IN IT ARE TRUE, 92.525.

ee

 

AI

ANDREW KARP a ~

SPS #260:

OJF SERVICES, INC.
13727 S.W..152nd Street
P.NLB. 354

Miami, FL 33477

(786) 293-5750.

Our Job Serial Number: OJF-2019006213
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&

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IN THE CIRCUIT COURT OFTHE
11TH JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA
ANNETTE PADILLA,
Plaintiff,
v. Case No.: 2019-006053-CA-01

COMPREHENSIVE HEALTH SERVICES, INC,
a Foreign Profit Corporation

Defendant(s).

 

SUMMONS IN A CIVIL CASE JTC
TO: COMPREHENSIVE HEALTH. SERVICES, INC through its Registered Agent:
© T CORPORATION SYSTEM _
4200 SOUTH PINE ISLAND ROAD
PLANTATION, FL 38324

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFE’S ATTORNEY

oy iG 3
ZUSE

PETER M. HOOGERWOERD, ESQ.
REMER & GEORGES-PIERRE, PLLC,
44 WEST FLAGLER STREET. STE. 2200
MIAMI, FL 33130

an answer to the amended complaint which is herewith served upon you, within 20 days afler
sérvice of this summons upon you, exclusive of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in the complaint. You ‘must also file.
your answer with the Clerk of this Court within a reasonable period of time after service.

4/12/2019
DATE

 

 

 

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FORM 1.997, CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for

completion.)

 

I. CASE STYLE

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

 

 

Case No.:
Judge:
Annette Padilla
Plaintiff
VS.
Comprehensive Health Services, Inc
Defendant
ll. TYPE OF CASE
0 Non-homestead residential foreclosure
[ Condominium $250,00 or more :
(2) Contracts and indebtedness {Other real property actions $0 - $50,000
DI Eminent domain {1 Other real property actions $50,001 - $249,999
O Auto negligence {Other real property actions $250,000 or more
O Negligence — other . ;
(Business governance {1 “Professional malpractice
1 Business torts Malpractice ~ business
() — Environmentat/Toxic tort 0 Malpractice — medical
[Third party indemnification 1 Malpractice ~ other professional
Construction defect & Other
Cl Mass tort  sAntitrust/Trade Regulation
Negligent security © Business Transaction
C1 Nursing home negligence Gs Circuit Civil - Not Applicable
o Premises liability — commercial Oo Constitutional challenge-statute or
El) Premises liability — residential ordinance
CJ Products liability a Constitutional challenge-proposed
= amendmen
Real Property/Mortgage foreclosure O Corporate Trusts
EJ Commercial foreclosure $0 - $50,000 mm Discrimination-employment or other
(Commercial foreclosure $50,001 - $249,999 gd Insurance claims
[I Commercial foreclosure $250,000 or more oO Intellectual property
O) Homestead residential foreclosure $0 ~ 50,000 o Libel/Slander
oO gotacen” residential foreclosure $50,001 - oO Shareholder derivative action
C) Homestead residential foreclosure $250,000 or Q Securities litigation
more Trade secrets
C1 Non-homestead residential foreclosure $0 - 1 Trust litigation
$50,000
1 Non-homestead residential foreclosure

$50,001 - $249,999

 

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COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes [) No X

I. REMEDIES SOUGHT (check all that apply):
& Monetary;
5 Non-monetary declaratory or injunctive relief;
& Punitive

IV. NUMBER OF CAUSES OF ACTION: ( —)
(Specify)

4

Vv. IS THIS CASE A CLASS ACTION LAWSUIT?
C) Yes
EK No

Vi. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
K No
© Yes - If “yes” list all related cases by name, case number and court:

Vil. IS JURY TRIAL DEMANDED IN COMPLAINT?
& Yes
= No

 

| CERTIFY that the information | have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that | have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature s/ Nathaly Saavedra = FL Bar No.: 118315
Attorney or party (Bar number, if attorney)

Nathaly Saavedra 02/25/2019
(Type or print name) Date

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Case 1:19-cv-21770-DPG Document 1-2 Entered on FLSD Docket 05/03/2019 Page 6 of 14
Filing # 85472885 E-Filed 02/25/2019 06:34:54 PM

IN THE CIRCUIT COURT OF THE
ELEVENTH JUDICIAL CIRCUIT IN
AND FOR MIAMI-DADE COUNTY

 

FLORIDA
ANNETTE PADILLA
CASE NO.:
Plaintiff,
Vv.
COMPREHENSIVE HEALTH SERVICES, INC
A foreign Profit Corporation
Defendant.
/
COMPLAINT

COMES NOW the Plaintiff, ANNETTE PADILLA (‘Plaintiff’), by and through the
undersigned counsel, and sues Defendant, COMPREHENSIVE HEALTH SERVICES, INC.,
(“Defendant”), and alleges:

1. This is an action by Plaintiff, for damages that exceed Fifteen Thousand Dollars
($15,000.00) exclusive of interests and costs to redress injury done to her as a result of
Defendant’s retaliatory discharge of her on the basis of her complaints of and
objections to Defendant’s illegal activity.

2. At all times material hereto, the Plaintiff resides in Miami, Florida.

3. At all times material hereto, the Defendantis a foreign profit company that owned and
conducted business in one of their locations based in Miami-Dade County, Florida and an

employee within the definition of the Florida’s Private Sector Whistleblower’s Act.
Case 1:19-cv-21770-DPG Document 1-2 Entered on FLSD Docket 05/03/2019 Page 7 of 14

4. At all times material hereto, the incident giving rise to this complaint occurred in Miami,
Florida.

5. Venue is proper in this Court pursuant to Florida’s Private Sector Whistleblower’s Act.

6. Plaintiffis an employee within the definition of the Florida’s Private Sector Whistleblower’s
Act.

7. Declaratory, injunctive, legal and equitable relief sought pursuant to the laws set forth above

together with attorneys’ fees, costs and damages.

8. All conditions precedent for the filing of this action before this Court have been previously

met, including the exhaustion of all pertinent administrative procedures and remedies.
GENERAL ALLEGATIONS

9. Plaintiff, was employed by Defendant from on or about March 2018 until September 28, 2018
as a travel chaperone.

10. At all times material hereto, Plaintiff and Defendant were engaged in an agreement that
Plaintiff would be compensated at a rate of $17.00 per hour and was to receive and additional
$4.18 per hour as a fringe benefit.

11. Plaintiffs position was a contract assignment for the United States Department of Health and
Human Services (HHS) and was subject to the Service Contract Act (SCA).

12. Under the SCA, The Department of Labor requires that employees be paid a Fringe Rate in
benefits for every hour charged of the affected contracts up to forty (40) hours weekly.

13. Under the contract assignment, Defendant is also required to comply with policies and
requirements set by the Office Refugee Resettlement’s (ORR), the U.S. Committee for
Refugees and Immigrants (USCRD), the Division of Refugee Assistance (DRA) and other

federal agencies.
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14. Defendant is required to provide proper training to all employees. Each position has different
duties and as such, the required training varies depending on the position.

15, Plaintiff complained about Defendant failing to pay the fringe rate for each of the hours
worked, Specifically, Plaintiff emailed Human Resources as she had not received the
additional pay but other employees had. However, no action was taken by Defendant.

16. Defendant requested Plaintiff to cover youth care worker shifts.

17. Plaintiff complained and objected to this request because she was not provided the training
required by ORR’s and USCRI’s policies to be in that position.

18. Plaintiff requested that the training be provided before being placed and required to carry out
the duties of a youth care worker but no actions were taken by management.

19, Shortly after Plaintiff's complaints, Plaintiff's hours were drastically reduced.

20. On or about September 28, 2018, Plaintiff was terminated without reason.

21. At all relevant times, Defendant was aware of Plaintiff's rights as an employee under Florida
Laws and Regulations.

22. Defendant’ s justification(s) for its treatment of Plaintiff, if any, are a mere pretext for unlawful
retaliation for whistleblower activity.

23. Defendant’s adverse employment action towards Plaintiff was directly and proximately caused
by Plaintiff's objections to Defendant’s violations of ORR’s, ACS’, DRA’s, and USCRI’s |
policies and requirements.

COUNTI
Breach of Agreement

24. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1~23 of this

complaint as if set out in full herein.
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25. Defendant breached its agreement with Plaintiff by failing to pay the amount due to Plaintiff
for fringe benefits in violation of the SCA policies and requirements.
26. Plaintiff suffered damages as a result of Defendant’s breach of said agreement.
WHEREFORE, Plaintiff seeks damages from Defendant for breach of agreement,
exclusive of pre-judgment interest, costs, and attorneys’ fees and any and all other relief that this
Honorable Court deems just and proper.
COUNT IH
Quantum Meruit
27. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-23 of this
complaint as if set out in full herein.
28. Plaintiff has conferred a benefit onto Defendant by performing and providing services for
Defendant.
29. Defendant had knowledge of the services performed and provided and the benefit provided by
Plaintiff.
30. Defendant accepted Plaintiff's services to Defendant.
31. Defendant retained an inequitable benefit from Plaintiff by not properly paying Plaintiff for all
fringe benefits for each hour Plaintiff worked.
32. Plaintiff seeks damages under quantum meruit that are the reasonable value of the services
rendered to, provided to, and performed for Defendant.
WHEREFORE, Plaintiff seeks a judgment under quantum meruit for damages for the
reasonable value of the services performed and provided for Defendant, interest and costs, and

other damages deemed just by this Honorable Court.
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COUNT I
Unjust Enrichment

33. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-23 of this
complaint as if set out in full herein.
34. Plaintiff has conferred a benefit upon Defendant for services performed and provided to
Defendant.
35, Defendant has knowledge of the services performed and provided by Plaintiff.
36. Defendant voluntarily accepted the services performed and provided by Plaintiff.
37. Defendant unjustly benefit from the services performed and provided by Plaintiff by not |
properly paying Plaintiff for all fringe benefits Plaintiff is entitled to.
38. Plaintiff seeks damages for the value of the work performed to Defendant.
WHEREFORE, Plaintiff seeks a judgment for unjust enrichment against Defendant, interest and
costs, and other damages deemed just by this Honorable Court.
COUNT IV
Violation by Florida Private Sector Whistleblower’s Act, Section 448.102.

39. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 23 of
this complaint as if set out in full herein.

40. At all times material hereto, the Employer/Defendant failed to comply with Florida’s Private
Sector Whistleblower’s Act, Florida Statute Section 448.102, which provides, in relevant
part: “An employer may not take any retaliatory personnel action against an employee
because the employee has: ... (3) Objected to, or refused to participate in, any activity, policy,

or practice of the employer which is in violation of a law, rule, or regulation.”
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41. Plaintiff objected to and refused to participate in an illegal activity (Defendant failing to pay
its employees the fringe rate required by the SCA and perform work regulated by federal
policies without the required training).

42. The laws, rules, and regulations objected to include the Mcnamara —O’ Hara Service Contract
Act (SCA) and the policies and regulations established by ORR, ACS, DRA, and USCRI.

43. Under the Private Whistleblower Protection Act, Plaintiff is protected from adverse
employment action by Defendant as a result of objecting to activities in violation to federal
regulations.

44. As a direct and proximate result of the Defendant’s intentional conduct, Plaintiff suffered
serious economic losses, physical injury, as well as mental pain and suffering.

45, Any alleged justified reason for this treatment of Plaintiff asserted by Defendant is a mere |
pretext for the actual reason, her objections to the aforementioned illegal activity.

46. The Defendant’s actions were malicious and were recklessly indifferent to the Plaintiff's
rights pursuant to Florida’s Private Sector Whistleblower’s Act, Florida Statute section
448,102, protecting a person from retaliation for opposing illegal conduct.

47. The aforementioned actions of Defendant were done wantonly, willfully, maliciously and
with reckless disregard of the consequences of such actions.

PRAYER FOR RELIEF
Wherefore, Plaintiff respectfully requests that this court order the following:
A. Grant a permanent injunction enjoining Defendant, its officers, successors, assigns, and all
persons in active concert or participation with it, from engaging in any employment

practice which violates the Florida Whistleblower’s Act.
Case 1:19-cv-21770-DPG Document 1-2 Entered on FLSD Docket 05/03/2019 Page 12 of 14

B. Reinstate Plaintiff to the same position she held before the retaliatory personnel action, or
to an equivalent position.

C. Reinstate full fringe benefits and seniority rights to Plaintiff.

D. Order Defendant to make Plaintiff whole, by compensating Plaintiff for lost wages,
benefits, including front pay, back pay with prejudgment interest and other remuneration
for physical and mental pain, anguish, pain and humiliation from being terminated due to |
her objections to illegal activity.

E. Fora money judgment representing prejudgment interest.

F, Award any other compensation allowed by law including, attorney’s fees (448.104) and
further demands a trial by jury on all issues so triable.

JURY TRIAL DEMAND

Plaintiff demands a trial by jury on all issues triable as of right by a jury.

Dated: February 25, 2019 Respectfully submitted by:

/s/: Nathaly Saavedra
Peter M. Hoogerwoerd, Esq.

Fla. Bar No.: 0188239
mh@rgpattorneys.com

Nathaly Saavedra, Esq.

Fla. Bar No. 118315

ns@rgpatttorneys.com

Carlos D. Serrano, Esq.

Fla. Bar No. 1010125

cs@rgpattorneys.com

Remer & Georges-Pierre, PLLC

44 West Flagler Street, Suite 2200

Miami, FL 33130

(305) 416-5000- Telephone

(305) 416-5005- Facsimile
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IN THE CIRCUIT COURT OF THE
11TH JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA
ANNETTE PADILLA ,
Plaintiff,
Vv. Case No.: 2019-006053-CA-01

COMPREHENSIVE HEALTH SERVICES, INC,
a Foreign Profit Corporation

Defendant(s).
/

 

SUMMONS IN A CIVIL CASE
TO: COMPREHENSIVE HEALTH SERVICES, INC through its Registered Agent:

C T CORPORATION SYSTEM
1200 SOUTH PINE ISLAND ROAD
PLANTATION, FL 33324

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY

PETER M. HOOGERWOERD, ESQ.
REMER & GEORGES-PIERRE, PLLC.
44 WEST FLAGLER STREET, STE. 2200
MIAMI, FL 33130

an answer to the amended complaint which is herewith served upon you, within 20 days after
service of this summons upon you, exclusive of the day of service. Lf you fail to do so, judgment
by default will be taken against you for the relief demanded in the complaint. You must also file
your answer with the Clerk of this Court within a reasonable period of time after service.

 

CLERK DATE

 

(BY) DEPUTY CLERK

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IN THE CIRCUIT COURT OF THE
11TH JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA
ANNETTE PADILLA ,
Plaintiff,
v. Case No.: 2019-006053-CA-01

COMPREHENSIVE HEALTH SERVICES, INC,
a Foreign Profit Corporation

Defendant(s).
/

 

SUMMONS IN A CIVIL CASE
TO: COMPREHENSIVE HEALTH SERVICES, INC through its Registered Agent:

C T CORPORATION SYSTEM
1200 SOUTH PINE ISLAND ROAD
PLANTATION, FL 33324

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY

PETER M. HOOGERWOERD, ESQ.
REMER & GEORGES-PIERRE, PLLC.
44 WEST FLAGLER STREET. STE. 2200
MIAML, FL 33130

an answer to the amended complaint which is herewith served upon you, within 20 days after
service of this summons upon you, exclusive of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in the complaint. You must also file
your answer with the Clerk of this Court within a reasonable period of time after service.

4112/2019
DATE

 

 

 

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